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  7
  8                       UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10
 11   DEVEN MCGINN, through next                          '22CV1920 BAS AHG
                                                 CASE NO. _____________________
 12   friends MARC LEVINSON and
                                                 Complaint for declaratory judgment
      BLAKE EATON,                               and injunctive relief
 13
 14         Plaintiff,
 15         v.
 16
      FEDERAL BUREAU OF PRISONS;
 17   MERRICK B. GARLAND, in his
 18   official capacity as the U.S. Attorney
      General; U.S. DEPARTMENT OF
 19   JUSTICE; COLETTE S. PETERS, in
 20   her official capacity as the Director of
      the Federal Bureau of Prisons; Rear
 21
      Admiral CHRIS BINA, in his official
 22   capacity as the Acting Assistant
      Director for the Federal Bureau of
 23
      Prisons Health Services Division; and
 24   CATRICIA HOWARD, in her official
      capacity as the Assistant Director for
 25
      the Federal Bureau of Prisons
 26   Correctional Programs Division.
 27
            Defendants.
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  1                                     INTRODUCTION
  2         1.     Over twenty years ago, the Supreme Court held that “unjustified
  3   institutional isolation of persons with disabilities is a form of discrimination.”
  4   Olmstead v. L.C., 527 U.S. 581, 600 (1999). Institutional isolation is discrimination
  5   “in this key respect: In order to receive needed medical services, persons with
  6   mental disabilities must, because of those disabilities, relinquish participation in
  7   community life they could enjoy given reasonable accommodations, while persons
  8   without mental disabilities can receive the medical services they need without
  9   similar sacrifice.” Id. at 601.
 10         2.     The U.S. Department of Justice (“DOJ”) vigorously enforces this
 11   antidiscrimination principle. Earlier this year, the DOJ commemorated Olmstead’s
 12   anniversary with a wave of enforcement actions. 1 Yet the Attorney General and
 13   DOJ do not follow Olmstead’s antidiscrimination mandate in their own criminal
 14   justice work.
 15         3.     The Attorney General is responsible for hospitalizing and providing
 16   treatment in a suitable facility to people found incompetent before trial. 18 U.S.C.
 17   § 4241(d). When he fulfills that responsibility, like Bureau of Prisons, he is subject
 18   to the disability antidiscrimination principles articulated in Olmstead. See 29
 19   U.S.C. § 794(a) (Section 504 of the Rehabilitation Act). His own regulations
 20   subject him to those principles. 28 C.F.R. § 39.130(d).
 21         4.     As Olmstead explains, what is suitable for one person may not be
 22   suitable for another. Some people need full-time hospitalization in a locked facility
 23   before their trials. Others need only outpatient mental health programs, long known
 24
 25
 26
      1
       See U.S. Dep’t of Justice, Justice Department Commemorates the Anniversary
      of Olmstead v. L.C., June 22, 2022, https://www.justice.gov/opa/blog/justice-
 27   department-commemorates-anniversary-olmstead-v-lc-1.
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  1   as “day” or “partial hospitalization” programs. 2
  2         5.     The majority of states recognize that, as a practical matter, and
  3   pursuant to Olmstead’s anti-segregation principle, incompetent people need not all
  4   be institutionalized pretrial. At least thirty states provide outpatient competency
  5   evaluation and restoration to people who are otherwise on pretrial release.
  6         6.     Yet the Attorney General and the DOJ do not. Instead, they have
  7   delegated the task of providing competency evaluation and restoration treatment
  8   entirely to the Federal Bureau of Prisons (“BOP”)—an agency that provides such
  9   services exclusively in inpatient hospitals in federal prisons.
 10         7.     Deven McGinn has been found incompetent in a federal criminal case
 11   in San Diego. But he is not a danger. He is not at risk of flight. Rather, he has lived
 12   independently, on pretrial release, for the last two and a half years. He is still on
 13   pretrial release. A court-appointed neuropsychologist recommends that, not only
 14   could he be evaluated and treated in a non-custodial facility, but also that he should
 15   be. The psychologist who evaluated him the year before agrees. Given that he must
 16   receive evaluation and treatment from the Attorney General, Mr. McGinn wishes
 17   to be treated in San Diego, where he can live in his own home.
 18         8.     Yet the Attorney General, Department of Justice, Bureau of Prisons,
 19   and remaining named defendants will only provide Mr. McGinn with evaluation
 20   and treatment as an inmate in a prison hospital, over 2,500 miles away from San
 21   Diego. They intend for him to begin treatment at that prison hospital in Federal
 22
 23   2
       See U.S. Centers for Medicare and Medicaid Services, Mental health care
 24   (partial hospitalization), https://www.medicare.gov/coverage/mental-health-care-
      partial-hospitalization (explaining, “Partial hospitalization provides a structured
 25   program of outpatient psychiatric services as an alternative to inpatient
 26   psychiatric care. It’s more intense than care you get in a doctor’s or therapist’s
      office. You get this treatment during the day, and you don’t have to stay
 27   overnight.”).
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  1   Medical Center Devens (“FMC Devens”) on December 12, 2022.
  2         9.     “[T]reating individuals in institutions when they wish to and could be
  3   treated in the community is discrimination because of disability.” Brown v. District
  4   of Columbia, 928 F.3d 1070, 1078 (D.C. Cir. 2019); accord M.R. v. Dreyfus, 697
  5   F.3d 706 (9th Cir. 2012). 3 The Attorney General should know that treating
  6   Mr. McGinn in a prison hospital, when he wishes to and could be treated in an
  7   outpatient facility in San Diego, is discrimination because of disability.
  8         10.    Mr. McGinn asks this Court to declare that the Attorney General’s
  9   and named defendants’ policy of providing pretrial competency treatment
 10   exclusively in prison hospitals is illegal under Section 504 of the Rehabilitation
 11   Act and its implementing regulations, and to enjoin the defendants from taking
 12   Mr. McGinn into custody for hospitalization and instead hospitalize him in an
 13   integrated, medically appropriate outpatient program.
 14                            JURISDICTION AND VENUE
 15         11.    This Court has subject-matter jurisdiction over this action under 28
 16   U.S.C. § 1331 (federal question) and 28 U.S.C. § 1346 (original jurisdiction). This
 17   Court has further remedial authority under the Declaratory Judgment Act, 28
 18   U.S.C. §§ 2201 & 2202 et seq. The United States has waived its sovereign
 19   immunity pursuant to 5 U.S.C. § 702.
 20         12.    Venue is proper in the Southern District of California because this is
 21   an action against an officer, employee, and/or agency of the United States, and a
 22   substantial part of the events or omissions giving rise to this action have occurred
 23   in this judicial district. See 28 U.S.C. § 1391(e)(1).
 24
 25   3
       See, e.g., U.S. Department of Justice, Statement of the Department of Justice on
 26   Enforcement of the Integration Mandate of Title II of the Americans with
      Disabilities     Act   and     Olmstead      v.   L.C.    (Feb.    25,    2020),
 27   https://archive.ada.gov/olmstead/q&a_olmstead.htm.
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  1                                         PARTIES
  2         13.    Plaintiff Deven McGinn is a 34-year-old adult who has lived in San
  3   Diego for most of the last decade. A federal district court judge has determined
  4   that he is not at risk of flight, and he is not a danger to himself or others. Since his
  5   early 20s, he has been diagnosed with severe mental illnesses, including
  6   schizophrenia, schizoaffective disorder, and bipolar, and a federal district court
  7   recently determined his mental illness renders him unable to understand the nature
  8   and consequences of the criminal proceedings against him or to assist properly in
  9   his defense. Mr. McGinn is thus a qualified person with a disability within the
 10   meaning of Section 504 of the Rehabilitation Act.
 11         14.    Next friend Marc Levinson is a trial attorney employed by the Federal
 12   Defenders of San Diego, Inc., the federal community defender organization for the
 13   Southern District of California. In that capacity, Mr. Levinson represents Deven
 14   McGinn as his public defender, ethically has a significant relationship with
 15   Mr. McGinn, and is dedicated to his interests. He is one of Mr. McGinn’s “next
 16   friends” pursuant to Federal Rule of Civil Procedure 17(c)(2).
 17         15.    Next friend Blake Eaton is a trial attorney employed by the Federal
 18   Defenders of San Diego, Inc., the federal community defender organization for the
 19   Southern District of California. In that capacity, Mr. Eaton also represents Deven
 20   McGinn as his public defender, ethically has a significant relationship with
 21   Mr. McGinn, and is dedicated to his interests. Mr. Eaton is one of Mr. McGinn’s
 22   “next friends” pursuant to Federal Rule of Civil Procedure 17(c)(2).
 23         16.    Defendant Federal Bureau of Prisons is the federal agency responsible
 24   for the custody and care of all federal inmates following their conviction and
 25   sentencing. It is also the federal agency responsible for (i) identifying suitable
 26   facilities to provide treatment, competency evaluations, and related services for
 27   pretrial federal defendants found incompetent; (ii) contracting with suitable
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  1   facilities to provide such treatment, evaluations, and related services; and
  2   (iii) providing such treatment, evaluations, and related services. It is an “Executive
  3   agency” within the meaning of the Rehabilitation Act and the Department of
  4   Justice’s implementing regulations. See 29 U.S.C. §§ 794 et seq.; 28 C.F.R. §§
  5   39.101 et seq.
  6         17.    Defendant Colette S. Peters is the Director of the Federal Bureau of
  7   Prisons. Director Peters is responsible for the operation of all Bureau of Prisons
  8   facilities, regional offices, training centers, contract facilities, reentry management
  9   offices, and all related administration. Director Peters is sued in her official
 10   capacity.
 11         18.    Defendant Rear Admiral Chris Bina is the Acting Assistant Director
 12   for the Health Services Division of the Federal Bureau of Prisons. Defendant Bina
 13   is responsible for the BOP’s delivery of health services, including the staffing and
 14   oversight of all employees who provide medical designations and care to people in
 15   federal custody. Defendant Bina is sued in his official capacity.
 16         19.    Defendant Catricia Howard is the Assistant Director of the
 17   Correctional Programs Division of the Federal Bureau of Prisons. Defendant
 18   Howard is responsible for the BOP’s designations and sentence computations, as
 19   well as the oversight of private correctional facilities under contract with the BOP.
 20   Defendant Howard is sued in her official capacity.
 21         20.    Defendant U.S. Department of Justice is the federal agency that
 22   houses the Federal Bureau of Prisons and the U.S. Attorney General. It is an
 23   “Executive agency” within the meaning of the Rehabilitation Act and the
 24   Department of Justice’s implementing regulations. See 29 U.S.C. §§ 794 et seq.;
 25   28 C.F.R. §§ 39.101 et seq.
 26         21.    Defendant Merrick Garland is the United States Attorney General. All
 27   people found incompetent before trial are committed to the Attorney General’s
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  1   custody. He is responsible by statute for providing incompetent people with
  2   treatment at a suitable facility. 18 U.S.C. § 4241(d). He is responsible for an
  3   “Executive agency,” the U.S. Department of Justice, within the meaning of the
  4   Rehabilitation Act and the Department of Justice’s own implementing regulations.
  5   See 29 U.S.C. §§ 794 et seq.; 28 C.F.R. §§ 39.101 et seq. Defendant Garland is
  6   sued in his official capacity.
  7                              FACTUAL ALLEGATIONS
  8   I.    Mr. McGinn can, will, and should receive treatment in an outpatient
            day-hospitalization program in the community.
  9
            A.     Mr. McGinn manages his illness in outpatient facilities and
 10                occasional short inpatient stays.
 11         22.    According to medical records, Deven McGinn began experiencing
 12   symptoms of schizophrenia in his early 20s. In the last decade and a half, he has
 13   been diagnosed with schizophrenia and schizoaffective disorder, among other
 14   mental illnesses.
 15         23.    Doctors report that his illness is complicated, persistent, and hard to
 16   treat. He experiences delusions. His speech is often disorganized. One of the
 17   symptoms of his illness is that he often has poor or no insight into the illness.
 18         24.    Mr. McGinn has received psychiatric care mostly in outpatient
 19   facilities at the recommendation of his doctors.
 20         25.    He has been evaluated by two psychologists in the last two years. On
 21   a review of all available medical records, as well as testing and interviews with
 22   Mr. McGinn, each psychologist has independently concluded that the most
 23   medically appropriate place for Mr. McGinn to receive medical treatment and
 24   services is through a non-custodial facility in the San Diego community.
 25         26.    Medical records show that Mr. McGinn has needed short-term, full-
 26   time inpatient psychiatric care at times. That full-time inpatient care has lasted, at
 27   most, a matter of days or weeks at a time. Mr. McGinn has never spent more than
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  1   a few weeks at a time in an inpatient psychiatric care facility. The last time a doctor
  2   determined he medically needed inpatient psychiatric care was in late 2018. He
  3   spent four days in a psychiatric facility before being discharged on the advice of
  4   his doctor.
  5         27.     Mr. McGinn has no criminal history. He has never spent time in a jail
  6   or prison. He is often engrossed in his delusions. However, for the past several
  7   years, his delusions have been peaceful, often relating to nature, trees, and birds.
  8         B.      Mr. McGinn has lived on pretrial release in the community
                    uneventfully for the last two and a half years.
  9
            28.     In June 2020, Customs and Border Patrol agents detained
 10
      Mr. McGinn at the San Ysidro Port of Entry. An agent filed a complaint alleging
 11
      he had driven a car with a little under 8 kilograms of a substance containing
 12
      methamphetamine into the United States. The agent issued Mr. McGinn a notice
 13
      to appear in federal court and released him into the United States. See United States
 14
      v. Deven McGinn, No. 20-cr-1944-AJB.
 15
            29.     Mr. McGinn appeared in federal court at the time written in his notice
 16
      to appear. A federal magistrate judge appointed him counsel, specifically, the
 17
      Federal Defenders of San Diego, Inc. The magistrate judge determined that his
 18
      release would not endanger the safety of any other person or the community. The
 19
      magistrate judge also determined that a $10,000 personal appearance bond would
 20
      reasonably assure Mr. McGinn’s appearance in federal court.
 21
            30.     Mr. McGinn was released the same day he first appeared in federal
 22
      court in June 2020. He has lived in the San Diego community on pretrial release
 23
      ever since.
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            31.     Mr. McGinn would remain in the community on pretrial release, if not
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      for the Attorney General’s and the BOP’s choices on how to provide him with
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      competency treatment and evaluation.
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  1         32.    Mr. McGinn has appeared for hearings in the case in federal court at
  2   least fourteen times while on pretrial release. He has had no further contact or
  3   interactions with law enforcement. Other than an early bond modification to
  4   account for a drug testing condition the pretrial officer had initially missed, the
  5   district court has never modified his bond. It also has not revoked his bond.
  6         33.    At different points throughout the duration of the case, the district
  7   court has found that Mr. McGinn should remain on pretrial release in the
  8   community, and that he meets the standards for pretrial release under the Bail
  9   Reform Act. Even after finding him incompetent, the district court ordered that
 10   Mr. McGinn remain on bond in the community until the day the BOP’s medical
 11   facility has space available for him.
 12         34.    Mr. McGinn lives independently, despite experiencing severe
 13   symptoms of mental illness. He now has his own apartment in the San Diego area.
 14   With the income he receives for his disability from the Social Security
 15   Administration, he is able to feed and clothe himself. He takes public transportation
 16   by himself to go to meetings and medical appointments. He schedules medical
 17   appointments himself and attends them on his own. He has regularly attended
 18   mental health treatment appointments as directed by pretrial services.
 19         35.    Mr. McGinn does not currently have insight into his illness. Even so,
 20   he is willing to comply with all court-ordered evaluation and treatment. He has
 21   attended all court-ordered mental health treatment appointments required as a
 22   condition of his pretrial release for the last two and a half years. During the height
 23   of the pandemic, he used a payphone to call in to therapy sessions, using rolls of
 24   quarters at a time.
 25         C.     The district court finds Mr. McGinn incompetent and orders him
                   into the custody of the Attorney General for treatment from a
 26                suitable facility.
 27         36.    In May 2022, the district court appointed a clinical psychiatry
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  1   professor at UC San Diego to determine if Mr. McGinn was able to rationally assist
  2   his counsel in his defense or understand the nature and consequences of the
  3   proceedings against him.
  4         37.    The professor and neuropsychologist’s medical opinion is that Mr.
  5   McGinn does not have capacity to stand trial. In her opinion, Mr. McGinn is unable
  6   to adequately assist defense counsel due to symptoms of his mental illness. His
  7   disorganized speech and inability to speak about matters other than delusions
  8   impact his ability to communicate coherently. Obtaining answers from him is
  9   challenging. He has a shallow understanding of court proceedings and personnel.
 10         38.    The professor and neuropsychologist also has medical concerns that
 11   Mr. McGinn may not be returned to competency in a reasonable amount of time,
 12   even with gold-standard, evidence-based treatments. Medically, it is challenging
 13   to anticipate how long it would take for his psychotic symptoms to improve to a
 14   level that would allow him to rationally assist in his defense and understand the
 15   nature and consequences of the proceedings against him.
 16         39.    The district court accepted this medical opinion in August 2022. It
 17   found Mr. McGinn is presently mentally incompetent due to his mental disease or
 18   defect. It ordered that Mr. McGinn remain on bond pending voluntary self-
 19   surrender to a specific facility within the Bureau of Prisons. It committed
 20   Mr. McGinn to the custody of the Attorney General. Mr. McGinn is thus now,
 21   technically, in the custody of the Attorney General.
 22         D.     The Bureau of Prisons decides to provide competency evaluation
                   and restoration services for Mr. McGinn in a federal prison
 23                hospital.
 24         40.    The last two psychologists to evaluate Mr. McGinn have each
 25   independently determined that a non-custodial treatment facility is the most
 26   medically appropriate hospital setting for Mr. McGinn to receive competency
 27   evaluation and restoration treatment.
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  1          41.     In fall 2021, a clinical and forensic psychologist’s medical opinion
  2   was that there are community-based programs that would meet Mr. McGinn’s
  3   needs. She recommended an evidence-based approach such as assertive
  4   community treatment, a particular form of partial hospitalization. She explained
  5   that such treatment is available through a number of different programs within San
  6   Diego County. It involves a multi-disciplinary team of professionals working
  7   together to support an individual with severe mental illness as they remain in the
  8   community. That team should include, in her medical opinion, a case manager,
  9   psychiatrist, social worker, vocational specialist, and substance abuse treatment
 10   specialists.
 11          42.     In summer 2022, the court-appointed psychologist’s medical opinion
 12   was that the most medically appropriate setting for competency evaluation and
 13   restoration would be a private, non-custodial competency restoration facility. Non-
 14   custodial services would be less stressful for Mr. McGinn, and thus less likely to
 15   further exacerbate his mental illness. Non-custodial services would be medically
 16   better and likely more evidence-based for Mr. McGinn’s specific psychiatric
 17   needs, including cognitive behavioral therapy for psychosis, social skills training,
 18   illness management and recovery, and cognitive rehabilitation.
 19          43.     As she explained, competency restoration services within a Federal
 20   Bureau of Prisons facility could be harmful toward Mr. McGinn’s recovery. Given
 21   that he is not a danger to himself or others, there is not a strong argument to be
 22   made for providing restoration services within a BOP facility.
 23          44.     In August 2022, Mr. McGinn provided this report to the Bureau of
 24   Prisons through counsel. Through counsel, he asked the BOP and the Attorney
 25   General to reasonably accommodate his disability, and place him in the most
 26   integrated setting possible, by providing him treatment through a non-custodial
 27   competency restoration program in Southern California. The reasonable
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  1   accommodation request described his illness, his ability and willingness to attend
  2   community-based treatment if required to do so, and the medical appropriateness
  3   of such treatment. It offered further discussion with counsel, as well as indicated
  4   openness to other accommodation ideas.
  5         45.    Counsel for the BOP responded the following day, writing simply,
  6   “The BOP cannot accommodate your request.”
  7         46.    Instead, the Bureau of Prisons informed Mr. McGinn that it would
  8   provide him competency evaluation and restoration services as an inmate in FMC
  9   Devens. It scheduled for him to arrive at the prison on December 12, 2022.
 10         47.    FMC Devens is a prison. It is characterized by regimented activities.
 11   All inmates can only move between assigned areas at certain times, pursuant to the
 12   prison’s “controlled movement system.” All inmates must stay silent during the
 13   five or six “count times” conducted each day. Inmates are given approximately 22
 14   minutes to eat a meal. Every item every inmate possesses must be authorized, with
 15   a record of receipt. All inmates can, at any time, be subject to an unannounced and
 16   random pat search, visual search, or search of their assigned living space. Inmates
 17   must wear identification cards at all times when they are not in their assigned cells. 4
 18         48.    All inmates at FMC Devens, including those in the inpatient medical
 19   center unit, are subject to restrictive conditions designed for people serving
 20   sentences of criminal punishment. All inmates at the facility cannot leave. They
 21   are locked in. They have a limited number of visitors and visits per month. By
 22   design, all inmates are isolated from their communities.
 23         49.    FMC Devens is about forty miles north of Boston, Massachusetts. It
 24   is over 2,500 miles away from San Diego. From San Diego, FMC Devens is one
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      4
       Bureau of Prisons, FMC Devens: Inmate Admission & Orientation Handbook,
      https://www.bop.gov/locations/institutions/dev/;
 27   https://www.bop.gov/locations/institutions/dev/DEV_aohandbook.pdf
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  1   of the farthest facilities the BOP operates in the continental United States.
  2   II.   The Attorney General and the Bureau of Prisons could keep and treat
            Mr. McGinn in the community, in line with medical recommendations
  3         and antidiscrimination law.
  4         50.    The Attorney General, the Bureau of Prisons, and each named
  5   defendant could choose to hospitalize Mr. McGinn and people like him in partial
  6   hospitalization programs. It would be legal. It would be cheaper. It would be—as
  7   two psychologists have explained in Mr. McGinn’s case—medically appropriate.
  8         51.    Instead, unlike the majority of states, and contrary to Department of
  9   Justice’s own regulations, the named defendants have chosen to institutionalize
 10   everyone found incompetent before trial, regardless of whether they are living in
 11   the community on pretrial release, and regardless of individual circumstances.
 12         52.    Partial hospitalization programs have existed in the United States
 13   since the 1950s. They have been common and available for the last half-century.
 14   Today, more than one-third of all metropolitan hospitals provide partial
 15   hospitalization programs. 5 There are a number of partial hospitalization programs
 16   available in the San Diego region.
 17         53.    Also known as day hospitalization programs, partial hospitalization
 18   programs provide structured intensive outpatient mental health care. They allow
 19   for participants to engage freely in community activities—like traveling in and
 20   through public spaces, working, and going to school—as well as the simple
 21   activities of independent living—cooking and eating their chosen foods at their
 22   chosen times, shopping where they want, spending social time with who they want,
 23   and sleeping in their own bed.
 24         54.    As explained in recent medical literature, partial hospitalization
 25
 26
      5
        See Sudhakar Madakasira, Psychiatric partial hospitalization programs: What
      you need to know, 21 Current Psychiatry 28, 28–29 (2022),
 27   https://cdn.mdedge.com/files/s3fs-public/CP02102028.PDF.
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  1   programs are an important, less-segregated alternative to inpatient hospitalization.
  2   They “[d]iscourage[] the excessive dependency and dehumanization that may
  3   develop during inpatient hospitalization,” and “[a]llow the patient to maintain . . .
  4   independent activities they are capable of.” 6
  5            55.     Partial hospitalization programs cost substantially less than inpatient
  6   programs.
  7            56.     The Attorney General, Bureau of Prisons, and remaining named
  8   defendants have the authority and ability to provide Mr. McGinn with medical
  9   evaluation and treatment at an outpatient hospitalization program while he is in
 10   their custody.
 11            57.     As Judge Watford recently explained, “Congress specifically
 12   authorized the Attorney General to ‘contract with a State, a political subdivision, a
 13   locality, or a private agency for the confinement, hospitalization, care, or treatment
 14   of, or the provision of services to, a person committed to his custody pursuant to’”
 15   the federal incompetency scheme. United States v. Donnelly, 41 F.4th 1102, 1109
 16   (9th Cir. 2022) (Watford, J., concurring in the judgment) (quoting 18 U.S.C. §
 17   4247(i)(A)). As a result, “[e]ven when the BOP itself lacks available bed space, it
 18   can contract with another entity to hospitalize defendants committed to the
 19   Attorney General’s custody.” Id.
 20            58.     The Attorney General’s, Bureau of Prisons’, and remaining named
 21   defendants’ choice to institutionalize Mr. McGinn violates Mr. McGinn’s rights
 22   under the essential antidiscrimination principles of Section 504 of the
 23   Rehabilitation Act. But for their choice to evaluate and treat Mr. McGinn in a
 24   prison hospital, rather than a partial hospitalization program, Mr. McGinn would
 25   remain in the community on pretrial release. By forcing Mr. McGinn into a
 26
 27   6
          Id. at 30.
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  1   segregated institution when there are cheaper, closer, more integrated, and more
  2   medically appropriate treatment alternatives, the named defendants have harmed
  3   and will harm Mr. McGinn. They have violated, and will continue to violate,
  4   disability discrimination law.
  5         59.     Mr. McGinn has asked the Bureau of Prisons to modify its policies
  6   to allow him to receive treatment in the most integrated setting possible, to no avail.
  7         60.    In light of his pending institutionalization, scheduled at FMC Devens
  8   on December 12, 2022, Mr. McGinn has no choice but to bring this lawsuit.
  9                                    CAUSES OF ACTION
 10                                      COUNT I
 11     The named defendants’ choice to evaluate and treat Deven McGinn in a
       prison hospital rather violates the Olmstead integration mandate of Section
 12                           504 of the Rehabilitation Act
 13         61.    Mr. McGinn incorporates by reference the allegations set forth in each
 14   paragraph of this Complaint.
 15         62.    Congress enacted Section 504 of the Rehabilitation Act “to share with
 16   [disabled] Americans the opportunities . . . that other Americans take for granted.”
 17   School Bd. of Nassau Cty. v. Arline, 480 U.S. 273, 278 (1987) (quoting 123 Cong.
 18   Rec. 13515 (1977) (statement of Sen. Humphrey). It found that disability “in no
 19   way diminishes the right of individuals to . . . enjoy full inclusion and integration
 20   into the economic, political, social, cultural, and educational mainstream of
 21   American society.” 28 U.S.C. § 701.
 22         63.    To further that goal, Section 504 of the Rehabilitation Act prohibits
 23   discrimination on the basis of disability by any Executive agency. 29 U.S.C. §
 24   794(a). It provides that “[n]o otherwise qualified individual with a disability . . .
 25   shall, solely by reason of her or his disability, be excluded from the participation
 26   in, be denied the benefits of, or be subjected to discrimination . . . under any
 27   program or activity conducted by any Executive agency.” Id.
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  1         64.    Because multiple doctors have diagnosed him with schizophrenia, a
  2   district judge has found him unable to assist in his defense and understand the
  3   nature and consequences of criminal proceedings against him, and he has been
  4   ordered into the custody of the Attorney General for evaluation and treatment
  5   under 18 U.S.C. § 4241(d), Deven McGinn is a qualified individual with a
  6   disability within the meaning of Section 504. 29 U.S.C. § 705(9), (20)
  7   (incorporating by reference 42 U.S.C. § 12102).
  8         65.    Defendants Attorney General, Department of Justice, and Bureau of
  9   Prisons are Executive agencies within the meaning of Section 504 of the
 10   Rehabilitation Act, 29 U.S.C. § 794, and the remaining named defendants are
 11   responsible for the programs and activities of Executive agencies within the
 12   meaning of the statute, id. The Attorney General’s and named defendants’
 13   competency treatment and restoration programs, and activities with regard to
 14   Mr. McGinn’s competency treatment and restoration, are “program[s]” and
 15   “activit[ies]” within the meaning of the statute. Id.
 16         66.    The Department of Justice has issued regulations to effectuate Section
 17   504’s requirement that it not discriminate on the basis of disability. 28 C.F.R. §
 18   39.101. The regulations apply to “all programs or activities conducted by the
 19   agency.” 28 C.F.R. § 39.102; see 28 C.F.R. §§ 39.101 et seq. The agency includes
 20   the Bureau of Prisons and all named defendants.
 21         67.    The Department of Justice’s regulations provide that “[t]he agency
 22   shall administer programs and activities in the most integrated setting appropriate
 23   to the needs of qualified handicapped persons.” 28 C.F.R. § 39.130(d). As
 24   explained by regulations regarding the Americans with Disabilities Act that are
 25   “co-extensive” with Section 504, “‘the most integrated setting’ is the one that
 26   enables individuals with disabilities to interact with nondisabled persons to the
 27   fullest extent possible.” M.R. v. Dreyfus, 697 F.3d 706, 733 (9th Cir. 2012)
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  1   (quoting 28 C.F.R. Part 35, App. B (2011)).
  2         68.     The Attorney General, Department of Justice, Bureau of Prisons, and
  3   named defendants have violated and continue to violate Section 504 and its
  4   implementing regulations by refusing to administer their competency programs
  5   and activities in the most integrated setting appropriate to Mr. McGinn’s needs. As
  6   explained by Supreme Court case law, Ninth Circuit case law, DOJ regulations,
  7   and DOJ technical guidance, a decision to provide treatment and services to a
  8   person only in an institution when that person could be treated in the community
  9   violates Section 504 of the Rehabilitation Act.
 10         69.     Defendants’ violation has caused, and will continue to cause, ongoing
 11   harm to Deven McGinn. He is at risk of being institutionalized in a prison hospital
 12   on December 12, 2022, when it would be more integrated, cheaper, and more
 13   medically appropriate to receive hospitalization, treatment, and services in the
 14   community.
 15
 16                                   COUNT II
         The named defendants’ refusal to reasonably modify their competency
 17          treatment and hospitalization program violates the reasonable
          accommodation and meaningful access mandate of Section 504 of the
 18                               Rehabilitation Act
 19         70.     Plaintiffs incorporate by reference the allegations set forth in each
 20   paragraph of this Complaint.
 21         71.     When    enacting    Section    504   of   the   Rehabilitation   Act,
 22   “[d]iscrimination against the handicapped was perceived by Congress to be most
 23   often the product, not of invidious animus, but rather of thoughtlessness and
 24   indifference—of benign neglect.” Alexander v. Choate, 469 U.S. 297, 295 (1985).
 25   As a result, under Section 504, “an otherwise qualified handicapped individual
 26   must be provided with meaningful access” to government programs and activities.
 27   Id. at 301.
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  1         72.       “[T]o assure meaningful access, reasonable accommodations in the
  2   grantee’s program or benefit may have to be made.” Id. at 301. As explained in
  3   Olmstead, it is discrimination to deny reasonable accommodations that avoid
  4   segregation “in this key respect: in order to receive needed medical services,
  5   persons with mental disabilities must, because of their disabilities, relinquish
  6   participation     in   community    life   they   could   enjoy   given   reasonable
  7   accommodations, while persons without mental disabilities can receive the medical
  8   services they need without similar sacrifice.” Olmstead, 527 U.S. at 601.
  9         73.       The Attorney General, Department of Justice, Bureau of Prisons, and
 10   named defendants have violated and continue to violate Section 504 and its
 11   implementing regulations by refusing to provide Mr. McGinn with any reasonable
 12   accommodations to their competency restoration and treatment activities that
 13   would allow him to stay in the community. Mr. McGinn requested the reasonable
 14   accommodation of being provided treatment in a partial hospitalization program in
 15   Southern California, or, in the alternative, any other reasonable accommodation
 16   proposal. The Bureau of Prisons, acting on behalf of itself and named defendants,
 17   refused to provide the requested accommodation or propose an alternative. Instead,
 18   it responded simply, “The BOP cannot accommodate your request.”
 19         74.       Defendants’ violation of Section 504’s mandate to provide reasonable
 20   accommodations in its programs and activities has caused, and will continue to
 21   cause, ongoing harm to Deven McGinn. He is at risk of being institutionalized in
 22   a prison hospital on December 12, 2022, when it would be more integrated,
 23   cheaper, and more medically appropriate to receive hospitalization, treatment, and
 24   services in the community.
 25                                REQUEST FOR RELIEF
 26       Pursuant to the foregoing causes of action, Plaintiff Deven McGinn, through
 27   next friends Marc Levinson and Blake Eaton, prays that judgment be rendered in
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  1   favor of Plaintiff, and against Defendants, for the following relief:
  2        a.    On all causes of action, declare that the federal government’s policy of
  3              not providing outpatient hospitalization options for individuals who are
  4              being criminally prosecuted while on bond and are placed in
  5              competency proceedings violates the Rehabilitation Act;
  6        b.    On all causes of action, enjoin Defendants and all of their officers,
  7              employees, agents, and anyone acting in concert with them from
  8              holding Deven McGinn in any inpatient hospital setting solely in an
  9              effort to restore his competency for his criminal proceedings without
 10              first evaluating whether outpatient hospitalization is the most integrated
 11              treatment setting;
 12        c.    On all causes of action, that reasonable attorney fees be awarded
 13              pursuant to 505(b) of the Rehabilitation Act (29 U.S.C. 794a(b));
 14        d.    Costs of suit;
 15        e.    Any and all other relief in law or equity to which Plaintiff may be
 16              entitled and which this Court deems just and proper.
 17
       Dated: December 6, 2022              Respectfully submitted,
 18
 19
 20                                         s/ Kimberly S. Trimble
 21                                         Kimberly S. Trimble
                                            Attorneys for Plaintiff Deven McGinn,
 22                                         through next friends Marc Levinson and
 23                                         Blake Eaton

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